                                      UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF ARIZONA

                                                     Minute Entry
Hearing Information:
                       Debtor:   PHOENIX INTERFACE TECHNOLOGIES LLC
                 Case Number:    2:19-BK-00459-MCW        Chapter: 11

          Date / Time / Room:    WEDNESDAY, FEBRUARY 13, 2019 02:00 PM 7TH FLOOR #702

         Bankruptcy Judge:       MADELEINE C. WANSLEE
              Courtroom Clerk:   CHRISTINA JOHNSON
               Reporter / ECR:   MICHELLE RADICKE-STEVENSON                                       0.00


Matters:
       1) EXPEDITED HEARING ON DEBTOR'S MOTION FOR ORDER AUTHORIZING THE USE OF CASH
          COLLATERAL
          R / M #: 15 / 0

       2) EXPEDITED HEARING ON DEBTOR'S MOTION FOR ORDER DETERMINING ADEQUATE ASSURANCE OF
          PERFORMANCE
          R / M #: 16 / 0

       3) EXPEDITED HEARING ON DEBTOR'S MOTION FOR INTERIM AND FINAL ORDERS APPROVING FINANCING
          OF ACCOUNTS AND GRANTING REPLACEMENT LIENS
          R / M #: 23 / 0



Appearances:

        KELLY G. BLACK, ATTORNEY FOR PHOENIX INTERFACE TECHNOLOGIES LLC
        THOMAS BROWN, FOR THE DEBTOR
        EDWARD K. BERNATAVICIUS, ATTORNEY FOR U.S. TRUSTEE




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Proceedings:                                                                                                            1.00

          The court expected to see schedules and statements filed by today.

          Mr. Black stated the debtor manufactures electronics and the end of the year is the slowest time of the
          year. The debtor is behind with lease payments and debtor's landlord threatened to shut him out. The
          debtor is involved with four potential buyers, but the debtor isn't sure if he will reorganize or sell the
          business. He stated the debtor receives payment for services four to six weeks later. Mr. Black intends
          to file the schedules and statements today.

          #1 Cash Collateral

          Mr. Black reviewed his motion and confirmed there is a stipulation to use cash collateral. He discussed
          debtor's outstanding debt. Mr. Black stated proper service was provided.

          Mr. Brown reviewed the budget attached to the motion. He clarified his business makes membrane
          switches. Mr. Brown discussed wages paid to the eight employees employed by the business. He
          confirmed lease payments are two months delinquent.

          Mr. Bernatavicius stated his position noting his concerns, but stated no objection if the court is inclined
          to grant the motion on an interim basis.

          COURT: IT IS ORDERED GRANTING THE MOTION ON AN INTERIM BASIS FOR THE REASONS STATED
          ON THE RECORD. MR. BLACK SHALL PREPARE A FORM OF ORDER ALLOWING MR. BERNATAVICIUS
          AN OPPORTUNITY TO REVIEW IT BEFORE UPLOADING IT. IF THE PARTIES CANNOT AGREE ON A
          FORM OF ORDER, THEN A HEARING CAN BE SET TO RESOLVE THE ISSUES. MR. BLACK MAY USE
          MARCH 12, 2019 AS THE DEADLINE FOR OBJECTION TO THE FINAL ORDER. IT IS FURTHER
          ORDERED SETTING A FINAL HEARING FOR MARCH 19, 2019 AT 10:30 AM.

          AT CHAPTER 11 STATUS HEARING THAT IS SET FOR NEXT WEEK, THE COURT EXPECTS TO HEAR
          MORE DETAIL AS TO WHO WAS PAID, WHEN, AND FOR WHAT. THE COURT ALSO EXPECTS TO HEAR
          MORE INFORMATION AND DISCLOSURES AS TO ANY INSIDERS.

          #3 Factoring of Accounts

          Mr. Black stated his position confirmed all prior advancements have been exhausted. He stated proper
          service was provided and he has heard from Advantage Business Capital.

          Mr. Bernatavicius stated his position noting no objection to the approval of the motion on an interim
          basis. He will confer with counsel regarding pre-petition wages.

          The court is concerned why the factoring is necessary and continues to be necessary when this is an
          established business. The court hoped to see an affidavit or declaration in support of the motion. The
          court is further concerned with the notice that was given.


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          #2 Utilities

          Mr. Black stated his position and confirmed there are no objections. He confirmed notice was provided
          to all utility providers.

          Mr. Bernatavicius has no issue with the motion as long as service is proper.

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